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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                           Case Nos.     3:08cr22/LAC
                                                            3:09cv551/LAC/EMT

MICHAEL BERGER
___________________________________/
                                            ORDER
         This cause comes on for consideration upon the magistrate judge’s Report and
Recommendation dated June 12, 2012 (doc. 899). The parties have been furnished a copy of the
Report and Recommendation and have been afforded an opportunity to file objections pursuant to
Title 28, United States Code, Section 636(b)(1). I have made a de novo determination of objections
filed.
         Having considered the Report and Recommendation, and the timely filed objections thereto,
I have determined that the Report and Recommendation should be adopted.
         Accordingly, it is now ORDERED as follows:
         1.     The magistrate judge’s Report and Recommendation is adopted and incorporated by
reference in this order.
         2.     The motion to vacate, set aside, or correct sentence (doc. 839) is DENIED.
         3.     A certificate of appealability is DENIED.
         DONE AND ORDERED this 9th day of August, 2012.




                                              s /L.A. Collier
                                              LACEY A. COLLIER
                                              SENIOR UNITED STATES DISTRICT JUDGE
